                       Case 2:19-cr-00353-MWF Document 130 Filed 04/17/24 Page 1 of 1 Page ID #:720
    UNITED STATES DISTRICT COURT                            TRANSCRIPT ORDER FORM                                         COURT USE ONLY
   CENTRAL DISTRICT OF CALIFORNIA          Please use one form per court  reporter per case, and contact court reporter    DUE DATE:
                                        directly immediately after e-filing form. (Additional instructions on next page.)
   1a. Contact Person                                                                                2a. Contact Phone                                                   3a. Contact E-mail
       for this Order
                              Jennifer Childs                                                            Number
                                                                                                                                 (213) 765-1265                              Address
                                                                                                                                                                                                   Jennifer.Childs@calbar.ca.gov


   1b. Attorney Name                                                                                 2b. Attorney Phone                                                  3b. Attorney E-mail
       (if different)                                                                                    Number                                                              Address

  4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)                                                             5. Name & Role of
  845 S. Figueroa Street, Los Angeles, CA 90017                                                                            Party Represented


                                                                                                                        6. Case Name                  United States v. Drew Joseph Henry

                                                                                                                        7a. District Court                                                               7b. Appeals Court
                                                                                                                            Case Number
                                                                                                                                                      2:19-CR-00353                                          Case Number

  8. INDICATE WHETHER PROCEEDING WAS (choose only one per form):
                         DIGITALLY RECORDED                              TRANSCRIBED BY A COURT REPORTER; NAME OF COURT REPORTER: Miriam Baird


 9. THIS TRANSCRIPT ORDER IS FOR:                          Appeal             Non-Appeal                          Criminal                 Civil                 CJA        USA             FPD          In forma pauperis (Court order for transcripts must be attached)

                                                                                                                                                                                       You MUST check the docket to see if the transcript has already been filed, and if so,
 10. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested, format(s), and delivery type):                                             provide the "Release of Transcript Restriction" date in column c, below.
  a. HEARING(S) OR PORTIONS OF HEARINGS (Attach additional pages if necessary. If sealed, a court                                                                         (CM/ECF access included          c. RELEASE OF TRANS.
                                                                                                                                            b. SELECT FORMAT(S)                                                                          d.        DELIVERY TYPE
  order releasing transcript to the ordering party must be attached here or emailed to                                                                                   with purchase of transcript.)      RESTRICTION DATE             30-day, 14-day, 7-day, 3-day, Daily, Hourly
  transcripts_cacd@cacd.uscourts.gov.)
    HEARING Minute Order                                           PROCEEDING TYPE / PORTION                                                          TEXT /            CONDEN-    CM/ECF                     (Provide release date of        (Check with court reporter
                       Docket#       JUDGE         If requesting less than full hearing, specify portion (e.g., witness or time).
                                                                                                                                             PDF                                            WORD
                                                                                                                                                                                                           efiled transcript, or check to before choosing any delivery time
     DATE                                                                                                                                              ASCII    PAPER      SED     ACCESS
                    (if available)   (name)                                                                                                 (email)                                       INDEXING
                                                       CJA orders: indicate if openings, closings, voir dire, or instructions requested.              (email)            (email)    (web)                    certify none yet on file. )    sooner than "Ordinary-30.")
 07/19/2023             100        M.Fitzgerald F ULL - Hearing on Ex Parte App Court Order Appointing                                        ●                                                             ●                            ORDINARY (30-day)
                                                       New Counsel




 11. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC. CJA Orders: Explain necessity of non-appeal orders, orders for transcripts of proceedings involving only a co-defendant, & special authorizations to be
 requested in Section 14 of CJA-24 Voucher (attach additional pages if needed).




 12. ORDER & CERTIFICATION. By signing below, I certify that I will pay all charges (deposit plus additional), or, where applicable, promptly take all necessary steps to secure
 payment under the Criminal Justice Act.
                                                         Date April 17, 2024                            Signature Jennifer Childs
G-120 (06/18)
